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SURGXFLQJ3DUW\EHFRPHVDZDUHRIWKHLQDGYHUWHQWRUXQLQWHQWLRQDOGLVFORVXUHDQGSURYLGLQJ

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UHFLSLHQW V 7KHUHFLSLHQW V VKDOOWKHQGHVWUR\DOOFRSLHVRIWKHLQDGYHUWHQWO\RUXQLQWHQWLRQDOO\

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SURGXFLQJ3DUW\ DQG LLL PDNLQJEHVWHIIRUWVWRUHWULHYHDOOFRSLHVRI&RQILGHQWLDO,QIRUPDWLRQ

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               PDNLQJGHFLVLRQVGHDOLQJGLUHFWO\ZLWKWKHOLWLJDWLRQRIWKLV$FWLRQRUZKRDUH

               DVVLVWLQJRXWVLGHFRXQVHOLQWKHOLWLJDWLRQRIWKLV$FWLRQZKRKDYHFRPSOHWHGWKH

               8QGHUWDNLQJDWWDFKHGDV$SSHQGL[$KHUHWR(LWKHUSDUW\PD\LQJRRGIDLWK

               UHTXHVWWKHRWKHUSDUW\¶VFRQVHQWWRGHVLJQDWHRQHRUPRUHDGGLWLRQDO

               UHSUHVHQWDWLYHVIRUWKHSXUSRVHVRIVHWWOHPHQWRQO\WKHRWKHUSDUW\VKDOOQRW

               XQUHDVRQDEO\ZLWKKROGVXFKFRQVHQWDQGWKHUHTXHVWLQJSDUW\PD\VHHNOHDYHRI

               &RXUWWRGHVLJQDWHVXFKDGGLWLRQDOUHSUHVHQWDWLYH V LIWKHUHTXHVWLQJSDUW\

               EHOLHYHVWKHRWKHUSDUW\KDVXQUHDVRQDEO\ZLWKKHOGVXFKFRQVHQW




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     G   2XWVLGHFRQVXOWDQWVRUH[SHUWV i.e.QRWH[LVWLQJHPSOR\HHVRUDIILOLDWHVRID3DUW\

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VXSHUYLVHRUDVVLVWLQWKHSUHSDUDWLRQRUSURVHFXWLRQRIDQ\SDWHQWDSSOLFDWLRQSHUWDLQLQJWRWKH

ILHOGRIWKHLQYHQWLRQRIWKHSDWHQWVLQVXLWRQEHKDOIRIWKHUHFHLYLQJ3DUW\RULWVDFTXLUHU

VXFFHVVRUSUHGHFHVVRURURWKHUDIILOLDWHGXULQJWKHSHQGHQF\RIWKLV$FWLRQDQGIRURQH\HDU

DIWHULWVFRQFOXVLRQLQFOXGLQJDQ\DSSHDOV+RZHYHUQRWKLQJLQWKLV2UGHUSUHFOXGHVSHUVRQV

ZLWKDFFHVVWR+,*+/<6(16,7,9(0$7(5,$/IURPSDUWLFLSDWLQJLQinter partesUHYLHZ

SURFHHGLQJVUHH[DPLQDWLRQVLQWHUIHUHQFHSURFHHGLQJVRUFRYHUHGEXVLQHVVPHWKRGUHYLHZV

EHIRUHWKH863DWHQWDQG7UDGHPDUN2IILFH ³86372´ SURYLGHGWKDWDQ\SHUVRQZKRUHYLHZV

LQZKROHRULQSDUWWKHFRQWHQWVRI+,*+/<6(16,7,9(0$7(5,$/SURGXFHGE\DQRWKHU

3DUW\PD\QRWDGYLVHFRQVXOWRUSDUWLFLSDWHLQWKHGUDIWLQJRIDPHQGHGRUVXEVWLWXWHFODLPVLQWKH

SURFHHGLQJDQGZLOOQRWXVHDQ\RIWKH3URGXFLQJ3DUW\¶V3URWHFWHG0DWHULDOLQWKHSURFHHGLQJ

$GGLWLRQDOO\QRSHUVRQZKRDFFHVVHV+,*+/<6(16,7,9(0$7(5,$/PD\SDUWLFLSDWHRU

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EHKDOIRIWKH3DUW\SUHSDUHSURVHFXWHVXSHUYLVHRUDVVLVWLQWKHSUHSDUDWLRQRUSURVHFXWLRQRI

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PDWHULDOWKDWD3DUW\FRQWHQGVLVSURWHFWHGIURPGLVFORVXUHE\WKHDWWRUQH\FOLHQWSULYLOHJHWKH

ZRUNSURGXFWGRFWULQHRURWKHUSULYLOHJHGRFWULQHRULPPXQLW\,IGRFXPHQWVLQIRUPDWLRQRU

RWKHUPDWHULDOVXEMHFWWRDFODLPRIDWWRUQH\FOLHQWSULYLOHJHZRUNSURGXFWGRFWULQHRURWKHU

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VKDOOLQQRZD\SUHMXGLFHRURWKHUZLVHFRQVWLWXWHDZDLYHURIRUHVWRSSHODVWRDQ\VXFK

SULYLOHJHGRFWULQHRULPPXQLW\$Q\3DUW\WKDWLQDGYHUWHQWO\RUXQLQWHQWLRQDOO\SURGXFHV

GRFXPHQWVLQIRUPDWLRQRURWKHUPDWHULDOLWUHDVRQDEO\EHOLHYHVDUHSURWHFWHGXQGHUWKHDWWRUQH\

FOLHQWSULYLOHJHZRUNSURGXFWGRFWULQHRURWKHUSULYLOHJHGRFWULQHRULPPXQLW\PD\REWDLQWKH

UHWXUQRIVXFKGRFXPHQWVLQIRUPDWLRQRURWKHUPDWHULDOE\SURPSWO\QRWLI\LQJWKHUHFLSLHQW V 

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SULYLOHJHGRURWKHUZLVHSURWHFWHGPDUNLQJVE\WKHUHFLSLHQW V ZKLFKSDJHVVKDOOLQVWHDGEH

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FRQVXOWLQJVHUYLFHVRUWRJLYHWHVWLPRQ\ZLWKUHVSHFWWRWKHVXEMHFWPDWWHURIWKLVDFWLRQWKH

IROORZLQJPDWHULDOVZLOOEHGHHPHGWREHSULYLOHJHGPDWHULDOVRUPDWHULDOVRWKHUZLVHSURWHFWHG




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IURPSURGXFWLRQEDVHGRQDFODLPRISULYLOHJH DWWRUQH\FOLHQWZRUNSURGXFWRURWKHUSULYLOHJH 

DQGWKXVQRWGLVFRYHUDEOH

        D     &RUUHVSRQGHQFHEHWZHHQVXFKLQGHSHQGHQWFRQVXOWDQWVRUH[SHUWVDQGDSDUW\RU

               LWVRXWVLGHFRXQVHO

        E     'UDIWVRIH[SHUWUHSRUWVGHFODUDWLRQVRUDQ\RWKHUPDWHULDOVGUDIWHGE\RUIRUVXFK

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        F     &RPPXQLFDWLRQVEHWZHHQVXFKLQGHSHQGHQWFRQVXOWDQWVDQGH[SHUWVDQGDSDUW\RU

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               GHFODUDWLRQVRURWKHUPDWHULDOVGUDIWHGE\RUIRUVXFKLQGHSHQGHQWFRQVXOWDQWVRU

               H[SHUWVRUWKDWDUHUHODWHGWRSUHSDUDWLRQWRWHVWLI\DWDKHDULQJWULDORUGHSRVLWLRQ

               LQWKLVDFWLRQ

6XFKSURWHFWLRQVSURYLGHGKHUHLQDUHWREHFRQVWUXHGWREHLQDGGLWLRQWRDQGVKDOOQRWGLPLQLVK

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XSRQLQIRUPLQJKLVRUKHURSLQLRQVZKLFKLQIRUPDWLRQVKDOOQRWEHSULYLOHJHG

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GHVLJQDWLQJSDUW\ LL LGHQWLILHGLQWKH'(6,*1$7('0$7(5,$/DVDQDXWKRUDGGUHVVHHRU

FRS\UHFLSLHQWRIVXFKLQIRUPDWLRQ LLL DOWKRXJKQRWLGHQWLILHGDVDQDXWKRUDGGUHVVHHRUFRS\

UHFLSLHQWRIVXFK'(6,*1$7('0$7(5,$/KDVLQWKHRUGLQDU\FRXUVHRIEXVLQHVVVHHQVXFK

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SURGXFLQJ3DUW\RUDFXUUHQWRUIRUPHURIILFHUGLUHFWRURUHPSOR\HHRIDFRPSDQ\DIILOLDWHGZLWK

WKHSURGXFLQJ3DUW\ Y FRXQVHOIRUD3DUW\LQFOXGLQJRXWVLGHFRXQVHODQGLQKRXVHFRXQVHO

VXEMHFWWRSDUDJUDSKRIWKLV2UGHU  YL DQLQGHSHQGHQWFRQWUDFWRUFRQVXOWDQWDQGRUH[SHUW

UHWDLQHGIRUWKHSXUSRVHRIWKLVOLWLJDWLRQ YLL FRXUWUHSRUWHUVDQGYLGHRJUDSKHUV YLLL WKH&RXUW

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'(6,*1$7('0$7(5,$/VKDOOQRWEHGLVFORVHGWRDQ\RWKHUSHUVRQVXQOHVVSULRU

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           3DUWLHVPD\DWWKHGHSRVLWLRQRUKHDULQJRUZLWKLQWKLUW\  GD\VDIWHUUHFHLSWRI

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WKHUHRIDV³&21),'(17,$/´RU³5(675,&7('±$77251(<¶(<(621/<´SXUVXDQWWR

WKLV2UGHU$FFHVVWRWKHGHSRVLWLRQRUKHDULQJWUDQVFULSWVRGHVLJQDWHGVKDOOEHOLPLWHGLQ

DFFRUGDQFHZLWKWKHWHUPVRIWKLV2UGHU8QWLOH[SLUDWLRQRIWKHGD\SHULRGWKHHQWLUH

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VHDODQGVKDOOUHPDLQXQGHUVHDOXQWLOIXUWKHURUGHURIWKH&RXUW7KHILOLQJSDUW\VKDOOEH

UHVSRQVLEOHIRULQIRUPLQJWKH&OHUNRIWKH&RXUWWKDWWKHILOLQJVKRXOGEHVHDOHGDQGIRUSODFLQJ

WKHOHJHQG³),/('81'(56($/38568$17723527(&7,9(25'(5´DERYHWKHFDSWLRQ

DQGFRQVSLFXRXVO\RQHDFKSDJHRIWKHILOLQJ([KLELWVWRDILOLQJVKDOOFRQIRUPWRWKHODEHOLQJ

UHTXLUHPHQWVVHWIRUWKLQWKLV2UGHU,IDSUHWULDOSOHDGLQJILOHGZLWKWKH&RXUWRUDQH[KLELW




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WKHUHWRGLVFORVHVRUUHOLHVRQFRQILGHQWLDOGRFXPHQWVLQIRUPDWLRQRUPDWHULDOVXFKFRQILGHQWLDO

SRUWLRQVVKDOOEHUHGDFWHGWRWKHH[WHQWQHFHVVDU\DQGWKHSOHDGLQJRUH[KLELWILOHGSXEOLFO\ZLWK

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SUHYHQWWKH3DUWLHVIURPLQWURGXFLQJDQ\'(6,*1$7('0$7(5,$/LQWRHYLGHQFHDWWKHWULDO

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VXFK7KLUG3DUWLHV7KH7KLUG3DUWLHVVKDOOKDYHWHQ  GD\VDIWHUSURGXFWLRQRIVXFK

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DQ\SULYLOHJHGPHPRUDQGDRIWKH3DUWLHVDQGPDWHULDOVZKLFKKDYHEHHQDGPLWWHGLQWRHYLGHQFH

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HDFKSOHDGLQJILOHGZLWKWKH&RXUWHDFKGHSRVLWLRQWUDQVFULSWWRJHWKHUZLWKWKHH[KLELWVPDUNHG

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Counsel for 3ODLQWLIIDQG
                                                   Counsel for Defendant and Counterclaim
&RXQWHUFODLP'HIHQGDQWAcuity
                                                   Plaintiff Ultravision Technologies, LLC
Brands Lighting, Inc.




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